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                                                                                              1   Jacob L. Houmand, Esq. (NV Bar No. 12781)          Electronically Filed On: November 17, 2017
                                                                                                  Email: jhoumand@houmandlaw.com
                                                                                              2   Kyle J. Ortiz, Esq. (NV Bar No. 14252)
                                                                                                  Email: kortiz@houmandlaw.com
                                                                                              3   HOUMAND LAW FIRM, LTD.
                                                                                                  9205 West Russell Road, Building 3, Suite 240
                                                                                              4   Las Vegas, NV 89148
                                                                                                  Telephone: 702/720-3370
                                                                                              5   Facsimile:      702/720-3371

                                                                                              6   Counsel for Victoria Nelson, Chapter 7 Trustee

                                                                                              7
                                                                                              8                               UNITED STATES BANKRUPTCY COURT
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9                                     DISTRICT OF NEVADA
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10    In re:                                           Case No. BK-S-17-12731-ABL
                                                                                                                                                    Chapter 7
HOUMAND LAW FIRM, LTD.




                                                                                             11    DORON MASHAL and SHIRAH
                                                                                                   GOODMAN-MASHAL,                                  FIRST AND FINAL APPLICATION OF
                                                                                             12                                                     HOUMAND LAW FIRM, LTD. FOR
                                                                                                                   Debtors.                         ALLOWANCE OF COMPENSATION
                                                                                             13                                                     FOR SERVICES RENDERED DURING
                                                                                             14                                                     THE PERIOD FROM MAY 30, 2017
                                                                                                                                                    THROUGH NOVEMBER 16, 2017 AND
                                                                                             15                                                     FOR REIMBURSEMENT OF EXPENSES
                                                                                                                                                    PURSUANT TO 11 U.S.C. §§ 330 AND 331
                                                                                             16                                                     AND FEDERAL RULE OF
                                                                                                                                                    BANKRUPTCY PROCEDURE 2016
                                                                                             17
                                                                                             18                                                     Date of Hearing:     December 20, 2017
                                                                                                                                                    Time of Hearing:     9:30 a.m.
                                                                                             19                                                     Place: Courtroom No. 1, Third Floor
                                                                                             20                                                                          Foley Federal Building
                                                                                                                                                                         300 Las Vegas Blvd., S.
                                                                                             21                                                                          Las Vegas, NV 89101

                                                                                             22                                                     Judge: Honorable August B. Landis
                                                                                             23             The Houmand Law Firm, Ltd. (the “Firm”), counsel of record for Victoria Nelson,

                                                                                             24   Chapter 7 Trustee in the above-captioned bankruptcy case (the “Trustee”), hereby submits its

                                                                                             25   First and Final Application of Houmand Law Firm, Ltd. for Allowance of Compensation for

                                                                                             26   Services Rendered During the Period From May 30, 2017, Through November 16, 2017, and For

                                                                                             27   Reimbursement of Expenses Pursuant to 11 U.S.C. §§ 330 and 331 and Federal Rule of

                                                                                             28

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                                                                                              1   Bankruptcy Procedure 2016 (the “Fee Application”).1

                                                                                              2          The Fee Application is filed pursuant to Sections 330 and 331, FRBP 2016, the Guidelines

                                                                                              3   for Compensation and Reimbursement of Professionals in Region 17 as promulgated by the

                                                                                              4   Offices of the United States Trustee (the “Region 17 Guidelines”), and the Guidelines for

                                                                                              5   Reviewing Applications for Compensation and Reimbursement on Expenses Filed Under 11

                                                                                              6   U.S.C. § 330 effective January 30, 1996 (the “U.S. Trustee Guidelines”). The Application is also

                                                                                              7   based on the following Memorandum of Points and Authorities, the Declaration of Victoria L.

                                                                                              8   Nelson In Support of First and Final Application of Houmand Law Firm, Ltd. for Allowance of
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9   Compensation for Services Rendered During the Period From May 30, 2017, Through November
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10   16, 2017, and For Reimbursement of Expenses Pursuant to 11 U.S.C. §§ 330 and 331 and
HOUMAND LAW FIRM, LTD.




                                                                                             11   Federal Rule of Bankruptcy Procedure 2016 (the “Nelson Declaration”) and the Declaration of

                                                                                             12   Jacob L. Houmand, Esq. In Support of First and Final Application of Houmand Law Firm, Ltd.

                                                                                             13   for Allowance of Compensation for Services Rendered During the Period From May 30, 2017,

                                                                                             14   Through November 16, 2017, and For Reimbursement of Expenses Pursuant to 11 U.S.C. §§ 330

                                                                                             15   and 331 and Federal Rule of Bankruptcy Procedure 2016 (the “Houmand Declaration”), both of

                                                                                             16   which are filed separately and concurrently with this Court pursuant to Local Rule 9014(c)(2).2

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                                                                                             24    Unless otherwise indicated, all chapter and section references are to the Bankruptcy Code, 11
                                                                                                  U.S.C. §§ 101-1532, and to the Federal Rules of Bankruptcy Procedure, Rules 1001-9037. The
                                                                                             25   Federal Rules of Civil Procedure will be referred to as “FRCP” and the Federal Rules of
                                                                                                  Bankruptcy Procedure will be referred to as “FRBP.” The Local Rules of Practice for the United
                                                                                             26   States Bankruptcy Court for the District of Nevada shall be referred to as the “Local Rules”.
                                                                                             27   2
                                                                                                    All references to “ECF No.” are to the numbers assigned to the documents filed in the case as
                                                                                             28   they appear on the docket maintained by the clerk of the court.

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                                                                                              1          The Fee Application is also based on the pleadings and papers on file herein and any

                                                                                              2   argument that may be entertained at the hearing on the Fee Application.3

                                                                                              3          Dated this 17th day of November, 2017.

                                                                                              4                                                   HOUMAND LAW FIRM, LTD.

                                                                                              5
                                                                                                                                                  By: /s/ Kyle J. Ortiz
                                                                                              6                                                   Jacob L. Houmand, Esq. (NV Bar No. 12781)
                                                                                                                                                  Kyle J. Ortiz, Esq. (NV Bar No. 14252)
                                                                                              7                                                   9205 West Russell Road, Building 3, Suite 240
                                                                                                                                                  Las Vegas, NV 89148
                                                                                              8                                                   Telephone: 702/720-3370
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                                                                                  Facsimile: 702/720-3371
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                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10                                                   Counsel for Victoria Nelson, Chapter 7 Trustee
HOUMAND LAW FIRM, LTD.




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                                                                                                    The Firm also requests that the Court take judicial notice of all pleadings filed in the above-
                                                                                             27
                                                                                                  referenced bankruptcy case, including adversary proceedings, pursuant to Rule of Evidence 201,
                                                                                             28   incorporated by reference by FRBP 9017.

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                                                                                                  Name of Firm:                                    Houmand Law Firm, Ltd.
                                                                                              1
                                                                                                  Authorized to Provide Professional Services
                                                                                              2   to:                                              Victoria Nelson, Chapter 7 Trustee
                                                                                              3
                                                                                                  Date of Retention:                               May 30, 20174
                                                                                              4
                                                                                              5
                                                                                              6   Period for which Compensation and                May 30, 2017, through November 16, 2017
                                                                                                  Reimbursement is Sought
                                                                                              7
                                                                                              8   Amount of Attorney’s Fees Requested:             $    39,095.00
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9   Amount of Expense Reimbursement                  $      828.92
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                                  Requested:
                                                                                             10
HOUMAND LAW FIRM, LTD.




                                                                                             11
                                                                                             12   This is an:            interim       X        final application.

                                                                                             13   This is the first and final Fee Application filed by Houmand Law Firm, Ltd. in this case.

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                                                                                                    On July 10, 2017, the Court entered an Order Granting Application to Employ Nelson &
                                                                                             24
                                                                                                  Houmand, P.C., Nunc Pro Tunc to May 30, 2017, as General Bankruptcy Counsel for Victoria L.
                                                                                             25   Nelson, Chapter 7 Trustee Pursuant to 11 U.S.C. §§ 327(a) and 328(a) and Federal Rule of
                                                                                                  Bankruptcy Procedure 2014 (the “Application to Employ”) [ECF No. 42]. The Application to
                                                                                             26   Employ sought to employ the Firm, nunc pro tunc, as of May 30, 2017, in order to account for
                                                                                                  time expended reviewing the Debtor’s bankruptcy petition and discussing an offer to purchase
                                                                                             27   bankruptcy estate property with counsel for the Debtor. On October 17, 2017, the Firm filed a
                                                                                             28   Notice of (1) Change of Firm Name and (2) Change of Address [ECF No. 94] stating that the
                                                                                                  name of the Firm had changed from Nelson & Houmand, P.C. to Houmand Law Firm, Ltd.
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                                                                                              1                                      BILLING SUMMARY

                                                                                              2   Prior Applications: None

                                                                                              3   Fees
                                                                                                  Fees Previously Requested                                                           0.00
                                                                                              4   Fees Previously Awarded                                                             0.00
                                                                                              5
                                                                                                  Expenses
                                                                                              6   Expenses Previously Requested                                                       0.00
                                                                                                  Expenses Previously Awarded                                                         0.00
                                                                                              7
                                                                                                  Retainer Paid:                                                                      0.00
                                                                                              8
                                                                                                  Drawn on Retainer:                                                                  0.00
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9   Remaining Retainer:                                                                 0.00
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10
HOUMAND LAW FIRM, LTD.




                                                                                                  Current Application Fees from May 30, 2017, through November
                                                                                             11   16, 2017, Requested:                                                          $39,095.00
                                                                                             12
                                                                                                  Current Application Expenses May 30, 2017, through November
                                                                                             13   16, 2017, Requested:                                                          $   828.92

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                                                                                              1                              FIRST AND FINAL FEE APPLICATION OF
                                                                                                                                HOUMAND LAW FIRM, LTD.
                                                                                              2                                  SUMMARY OF PROFESSIONALS
                                                                                                                           MAY 30, 2017 THROUGH NOVEMBER 14, 2017
                                                                                              3
                                                                                              4                              GRADUATION
                                                                                                                              FROM LAW                       HOURLY5 HOURS               TOTAL
                                                                                              5           NAME                 SCHOOL             TITLE       RATE                        FEE
                                                                                              6   Jacob L. Houmand                 2011           Partner      $325.00        80.2
                                                                                              7   Jacob L. Houmand                 2011           Partner      $350.00       18.00
                                                                                              8   Kyle J. Ortiz                    2016          Associate     $250.00        10.2
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9   Kyle J. Ortiz                    2016          Associate     $275.00        15.2
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10
HOUMAND LAW FIRM, LTD.




                                                                                             11
                                                                                             12   Blended Rate:                                                 $316.30

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                                                                                             14   TOTAL

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                                                                                             25     Effective August 30, 2017, Attorney Houmand’s hourly rate was increased to $350 per hour and
                                                                                                  Attorney Ortiz’s hourly rate was increased to $275 per hour consistent with the terms laid forth in
                                                                                             26   the Application to Employ. See Application to Employ, p.6, ¶ 23 [ECF No. 12]; see also Exhibit
                                                                                                  “1”, Amended Declaration of Jacob L. Houmand, Esq., In Support of Application to Employ
                                                                                             27   Nelson & Houmand P.C., Nunc Pro Tunc to May 30, 2017, as General Bankruptcy Counsel for
                                                                                             28   Victoria L. Nelson, Chapter 7 Trustee Pursuant to 11 U.S.C. §§ 327(a) and 328(a) and Federal
                                                                                                  Rule of Bankruptcy Procedure 2014, p. 3, ¶ 5 [ECF No. 14-1].
                                                                                                                                                  -6-
                                                                                                  Case 17-12731-abl    Doc 102   Entered 11/17/17 16:40:03     Page 7 of 19




                                                                                              1                         FIRST AND FINAL FEE APPLICATION OF
                                                                                                                           HOUMAND LAW FIRM, LTD.
                                                                                              2                   SUMMARY OF COMPENSATION REQUESTED BY TASK CODE
                                                                                                                      MAY 30, 2017 THROUGH NOVEMBER 15, 2017
                                                                                              3
                                                                                              4                       ACTIVITY                       HOURS                    FEES
                                                                                                  B110 – CASE ADMINISTRATION                                                    $1,870.00
                                                                                              5                                                         5.6
                                                                                                  B120 – ASSET ANALYSIS & RECOVERY                                              $6,295.00
                                                                                              6                                                         21
                                                                                                  B130 – ASSET DISPOSITION                                                     $18,565.00
                                                                                              7                                                        56.9

                                                                                              8   B160 – EMPLOYMENT/FEE APPLICATIONS                   13.1                     $3,852.50
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9   B190 – OTHER CONTESTED MATTERS                        27                      $8,512.50
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10   TOTAL:                                               123.6                   $39,095.00
HOUMAND LAW FIRM, LTD.




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                                                                                              1                       MEMORANDUM OF POINTS AND AUTHORITIES

                                                                                              2                                       I.     INTRODUCTION

                                                                                              3          The Firm, counsel of record to the Trustee in the above-captioned chapter 7 case (the

                                                                                              4   “Bankruptcy Case”), hereby submits this First and Final Fee Application for services rendered in

                                                                                              5   the Bankruptcy Case during the period from May 30, 2017, through November 16, 2017, (the

                                                                                              6   “Fee Application Period”). The Firm requests an order (i) approving and allowing on a final basis

                                                                                              7   compensation in the amount of $39,095.00 for the reasonable and necessary services of the Firm

                                                                                              8   during the Fee Application Period, (ii) approving and allowing on a final basis reimbursement of
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9   expenses in the amount of $828.92 that were incurred during the Fee Application Period, and (iii)
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10   authorizing the Trustee to pay such amounts to the Firm. The Firm believes that the services it
HOUMAND LAW FIRM, LTD.




                                                                                             11   rendered to the Trustee during the Fee Application Period benefited the Debtor’s estate and that,

                                                                                             12   therefore, the attorneys’ fees and costs requested in this Fee Application should be approved

                                                                                             13   under Section 330(a).

                                                                                             14                                II.    JURISDICTION AND VENUE

                                                                                             15          1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1134.

                                                                                             16   This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). The statutory basis for the relief

                                                                                             17   sought are Sections 330, FRBP 2016, and Local Rule 2016.             Venue before this Court is

                                                                                             18   appropriate under 28 U.S.C. §§ 1408 and 1409.

                                                                                             19          2.      This matter constitutes a core proceeding under 28 U.S.C. § 157(b)(2). Pursuant to

                                                                                             20   Local Rule 9014.2, if the Court determines that absent consent of the parties the Court cannot

                                                                                             21   enter final orders or judgment regarding the Application consistent with Article III of the United

                                                                                             22   States Constitution, the Firm consents to entry of final orders and judgment by this Court.

                                                                                             23                                                   III.

                                                                                             24                  SUMMARY OF PROFESSIONAL SERVICES PERFORMED

                                                                                             25          3.      The Firm has provided services in the matters as described below.

                                                                                             26          4.      The following summary is intended only to highlight a number of the services

                                                                                             27   rendered by the Firm, and it is not meant to be a detailed description of all of the work performed.

                                                                                             28   Detailed descriptions of day-to-day services provided by the Firm and the time expended

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                                                                                              1   performing such services is fully set forth in the billing summary, true and correct copies of which

                                                                                              2   are attached to the Houmand Declaration as Exhibit “1”.

                                                                                              3          5.      Detailed descriptions of the actual expenses incurred by the Firm during the Fee

                                                                                              4   Application Period are attached to the Houmand Declaration as Exhibit “1”.

                                                                                              5                                                   IV.

                                                                                              6                               STATEMENT REGARDING NOTICE

                                                                                              7          6.      Pursuant to FRBP 2002(a)(6) and 2002(c)(2), notice of hearing on the Fee

                                                                                              8   Application, identifying the Firm and amounts requested, has been served on all identified
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9   creditors and parties in interest not less than 28 days prior to the date set for hearing on this Fee
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10   Application.
HOUMAND LAW FIRM, LTD.




                                                                                             11                                                    V.

                                                                                             12         STATEMENT REGARDING TERMS AND CONDITIONS OF EMPLOYMENT

                                                                                             13          7.      On June 6, 2017, the Trustee filed an Application to Employ Nelson & Houmand,

                                                                                             14   P.C., Nunc Pro Tunc to May 30, 2017, As General Bankruptcy Counsel for Victoria L. Nelson,

                                                                                             15   Chapter 7 Trustee, Pursuant to 11 U.S.C. §§ 327(a) and 328(a) and Federal Rule of Bankruptcy

                                                                                             16   Procedure 2014 (the “Application to Employ”) [ECF No. 12]. The Application to Employ sought

                                                                                             17   to employ the law firm of Nelson & Houmand, P.C., nunc pro tunc, as of May 30 2017, in order

                                                                                             18   to account for time expended researching the Debtor’s bankruptcy filing and and discussing an

                                                                                             19   offer to purchase bankruptcy estate property with counsel for the Debtor..

                                                                                             20          8.      On July 10, 2017, the Court entered an Order Granting Application to Employ

                                                                                             21   Nelson & Houmand, P.C., Nunc Pro Tunc to May 30, 2017, As General Bankruptcy Counsel for

                                                                                             22   Victoria L. Nelson, Chapter 7 Trustee Pursuant to 11 U.S.C. §§ 327(a) and 328(a) and Federal

                                                                                             23   Rule of Bankruptcy Procedure 2014 [ECF No. 42].

                                                                                             24          9.      On October 17, 2017, the Firm filed a Notice of (1) Change of Firm Name and (2)

                                                                                             25   Change of Address [ECF No. 94] that explained the Firm had changed its name to Houmand Law

                                                                                             26   Firm, Ltd and that Victoria L. Nelson, Esq. was no longer a member of the Firm.

                                                                                             27   ...

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                                                                                              1          10.     The scope of the Firm’s employment in this bankruptcy case was as follows:

                                                                                              2                  (a)    To investigate the financial affairs of the Debtor and
                                                                                                                        determine if there are any preferential transfers, fraudulent
                                                                                              3                         conveyances, or turnover actions that may be filed on behalf
                                                                                                                        of the bankruptcy estate pursuant to 11 U.S.C. §§ 542, 544,
                                                                                              4                         547, and 548.

                                                                                              5                  (b)    To prosecute any and all preferential transfers, fraudulent
                                                                                                                        conveyances, or turnover actions that may be filed on behalf
                                                                                              6                         of the bankruptcy estate pursuant to 11 U.S.C. §§ 542, 544,
                                                                                                                        547, and 548.
                                                                                              7
                                                                                              8                  (c)    To advise the Trustee of her rights and obligations and
                                                                                                                        performance of her duties during the administration of this
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9                         bankruptcy case;
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10                  (d)    To represent the Trustee in all proceedings before this Court
                                                                                                                        and any other court which assumes jurisdiction of a matter
HOUMAND LAW FIRM, LTD.




                                                                                             11                         related to or arising in this bankruptcy case;

                                                                                             12                  (e)    To assist the Trustee in developing legal positions and
                                                                                                                        strategies with respect to all facets of these proceedings; and
                                                                                             13
                                                                                                                 (f)    To provide such other counsel and advice as the Trustee
                                                                                             14                         may require in connection with this bankruptcy case.

                                                                                             15          11.     The results achieved during the Fee Application Period encompassed by this Fee

                                                                                             16   Application relate to the scope of employment set forth in this Fee Application, and are set forth

                                                                                             17   in more specific detail in the billing entries attached as Exhibit “1” to the Houmand Declaration.

                                                                                             18          12.     The actual expenses incurred by the Firm during the Fee Application Period are set

                                                                                             19   forth in more specific detail in the billing entries attached as Exhibit “1” to the Houmand

                                                                                             20   Declaration.

                                                                                             21          13.     During the time in question, the Firm has assisted the Trustee in those items

                                                                                             22   detailed in the “Scope of Employment” of the Employment Application and other miscellaneous

                                                                                             23   functions.

                                                                                             24          14.     The Firm’s services were rendered economically and without unnecessary

                                                                                             25   duplication of efforts. In addition, the work involved, and thus the time expended, was carefully

                                                                                             26   assigned in consideration of the experience and expertise required for each particular task. If

                                                                                             27   more than one person attended a meeting or hearing, it was not a duplication of that effort but it

                                                                                             28   was necessary to adequately represent the interests of the Trustee.

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                                                                                              1                                                   VI.

                                                                                              2            STATEMENT REGARDING THE ADMINISTRATION OF THE DEBTOR’S

                                                                                              3                                       BANKRUPTCY ESTATE

                                                                                              4   THE DEBTORS’ BANKRUPTCY FILING

                                                                                              5            15.     On May 23, 2017, DORON MASHAL and SHIRAH GOODMAN-MASHAL (the

                                                                                              6   “Debtors”) filed a voluntary bankruptcy pursuant to Chapter 7 of Title 11 of the United States

                                                                                              7   Code [ECF No. 1].6 See Nelson Declaration.

                                                                                              8            16.     On May 23, 2017, the Trustee was appointed as the Chapter 7 Trustee in the
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9   Debtors’ bankruptcy case [ECF No. 7]. See Nelson Declaration.
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10            17.     The Debtors’ primary assets are the following real properties: (a) 10710 Hobbiton
HOUMAND LAW FIRM, LTD.




                                                                                             11   Avenue, Las Vegas, Nevada 891357 [APN 164-12-213-019] (the “Hobbiton Property”); and (b)

                                                                                             12   424 St. Andrews Court, Las Vegas, Nevada 89144-0000 [APN                  138-30-713-046] (the “St.

                                                                                             13   Andrews Property”, and together with the Hobbiton Property the “Properties”). See Debtors’

                                                                                             14   Schedule A/B [ECF No. 1], p.14-15; see also Nelson Declaration.

                                                                                             15    MOTION TO APPROVE COMPROMISE AND REMOVAL OF LIENS

                                                                                             16            18.     On July 25, 2017, the Trustee filed the Stipulation to Remove Judgment Lien

                                                                                             17   Recorded Against the Real Property Located at 10710 Hobbiton Avenue, Las Vegas, Nevada

                                                                                             18   89144-0000 [APN 164-12-213-019] [ECF No. 51] (the “Canon Stipulation”). See Nelson

                                                                                             19   Declaration.

                                                                                             20            19.     The Canon Stipulation sought to remove a judgment lien filed by Canon USA, Inc.

                                                                                             21   (“Canon”) against the Hobbiton Property as the Trustee contended the judgment lien was not

                                                                                             22   properly perfected pursuant to N.R.S § 17.150 as Canon did not record an affidavit of creditor at

                                                                                             23   the time of the recording of the judgment lien. See Nelson Declaration.

                                                                                             24            20.     On July 26, 2017, the Court entered an Order Approving Stipulation to Remove

                                                                                             25   Judgment Lien Recorded Against the Real Property Located at 10710 Hobbiton Avenue, Las

                                                                                             26
                                                                                                  6
                                                                                                    All references to “ECF No.” are to the numbers assigned to the documents filed in the case as
                                                                                             27   they appear on the docket maintained by the clerk of the court.
                                                                                             28   7
                                                                                                      While Debtor’s Schedule A/B identifies the ZIP code as 89144, the correct ZIP code is 89135.
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                                                                                              1   Vegas, Nevada 89144-0000 [APN 164-12-213-019] [ECF No. 52]. See Nelson Declaration.

                                                                                              2          21.     On August 30, 2017, the Trustee filed a Motion to Approve Compromise Pursuant

                                                                                              3   to Federal Rule of Bankruptcy Procedure 9019 [ECF No. 66] (the “Motion to Approve

                                                                                              4   Compromise”). See Nelson Declaration.

                                                                                              5          22.     The Motion to Approve Compromise sought approval of a settlement agreement

                                                                                              6   whereby the Shoppes At Palazzo’s (“SAP”) secured claim against the Hobbiton Property would

                                                                                              7   be reduced from $56,000 to $10,000 with the remainder of the claim allowed as a general

                                                                                              8   unsecured claim. See Nelson Declaration.
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                                                                                              9          23.     The Trustee contended that the judgment liens filed by SAP against the Hobbiton
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                                                                                             10   Property were not properly perfected pursuant to N.R.S. § 17.150 as SAP did not record an
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                                                                                             11   affidavit of creditor at the time of the recording of any of the judgment liens. See Nelson

                                                                                             12   Declaration.

                                                                                             13          24.     On October 16, 2017, the Court entered an Order Granting Motion to Approve

                                                                                             14   Compromise Pursuant to Federal Rule of Bankruptcy Procedure 9019 [ECF No. 92]. See Nelson

                                                                                             15   Declaration.

                                                                                             16          25.     On September 5, 2017, the Trustee filed the Stipulation to Remove Any Liens In

                                                                                             17   Favor of the Internal Revenue Service Related to Penalties Recorded Against the Real Property

                                                                                             18   Located at 10710 Hobbiton Avenue, Las Vegas, Nevada 89144-0000 [APN 164-12-213-019]

                                                                                             19   Pursuant to 11 U.S.C. § 724 [ECF No. 78] (the “IRS Stipulation”). See Nelson Declaration.

                                                                                             20          26.     The Stipulation sough to reduce the Internal Revenue Service’s tax lien against the

                                                                                             21   Hobbiton Property by any amount attributable to fines, penalties, interest on penalties, forfeitures,

                                                                                             22   exemplary, or punitive damages and accrued interest on the same pursuant to Section 724(a).

                                                                                             23          27.     On September 5, 2017, the Court entered an Order Approving Stipulation to

                                                                                             24   Remove Any Liens In Favor of the Internal Revenue Service Related to Penalties Recorded

                                                                                             25   Against the Real Property Located at 10710 Hobbiton Avenue, Las Vegas, Nevada 89144-0000

                                                                                             26   [APN 164-12-213-019] Pursuant to 11 U.S.C. § 724 [ECF No. 79]. See Nelson Declaration.

                                                                                             27   ...

                                                                                             28   ...

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                                                                                              1   THE SALE OF THE HOBBITON PROPERTY

                                                                                              2          28.     On June 28, 2017, the Trustee filed an Ex Parte Application to Employ Berkshire

                                                                                              3   Hathaway Homeservice Nevada Property to Sell Certain Real Property and to Pay Commission

                                                                                              4   Pursuant to 11 U.S.C. §§ 327(a) and 328(a) and Federal Rule of Bankruptcy Procedure 2014

                                                                                              5   [ECF No. 25] (the “Realtor Employment Application”). See Nelson Declaration.

                                                                                              6          29.     The Realtor Employment Application sought to Employ Berkshire Hathaway

                                                                                              7   Homeservice Nevada Property as realtor to market and sell the Hobbiton Property for the benefit

                                                                                              8   of the Debtor’s creditors. See Nelson Declaration.
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                                                                                              9          30.     On June 30, 2017, the Court entered an Order Granting Ex Parte Application to
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                                                                                             10   Employ Berkshire Hathaway Homeservice Nevada Property to Sell Certain Real Property and to
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                                                                                             11   Pay Commission Pursuant to 11 U.S.C. §§ 327(a) and 328(a) and Federal Rule of Bankruptcy

                                                                                             12   Procedure 2014 [ECF No. 39]. See Nelson Declaration.

                                                                                             13          31.     On September 1, 2017, the Trustee filed a Motion to Approve Sale of the Real

                                                                                             14   Property Located at 10710 Hobbiton Avenue, Las Vegas, Nevada 89144-0000 [APN 164-12-213-

                                                                                             15   019 Pursuant to 11 U.S.C. § 363 [ECF No. 71] (the “Motion to Sell”). See Nelson Declaration.

                                                                                             16          32.     The Motion to Sell sought to sell the Hobbiton Property for $600,000. See Nelson

                                                                                             17   Declaration.

                                                                                             18          33.     On October 16, 2017, the Court entered an Order Granting Motion to Approve

                                                                                             19   Sale of the Real Property Located at 10710 Hobbiton Avenue, Las Vegas, Nevada 89144-0000

                                                                                             20   [APN 164-12-213-019 Pursuant to 11 U.S.C. § 363 [ECF No. 93]. See Nelson Declaration.

                                                                                             21          34.     The sale of the Hobbiton Property generated net sales proceeds for the bankruptcy

                                                                                             22   estate in the amount of $54,786.69. See Nelson Declaration.

                                                                                             23   ABANDONMENT OF DEBTORS’ LLC INTERESTS

                                                                                             24          35.     Debtors’ Schedule A/B identifies a one hundred percent interest (100%) in It’s

                                                                                             25   About Time, LLC (“IAT”). See Schedule A/B, p. 19 [ECF No. 1]. See Nelson Declaration.

                                                                                             26          36.     Debtors’ Schedule A/B further provided that IAT owned “office equipment,

                                                                                             27   furnishings, and supplies” (the “Property”) with a fair market value of $21,667. See Nelson

                                                                                             28   Declaration.

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                                                                                              1          37.     Based upon an Appraisal Report (the “Appraisal”) provided by the Debtors, the

                                                                                              2   fair market value of the Property is primarily based upon several hundred watches that were the

                                                                                              3   inventory of IAT. See Nelson Declaration.

                                                                                              4          38.     The Trustee contends that she has the authority to sell the Property as the Debtors

                                                                                              5   are the sole members of IAT and hold a one hundred percent (100%) ownership interest in that

                                                                                              6   entity. See In re B&M Land, 498 B.R. 262 (Bankr. D. Nev. 2013) (holding that where a debtor

                                                                                              7   has a membership interest in an ordinary single-member limited liability companies and filed a

                                                                                              8   petition under Chapter 7, the rights automatically include the right to manage the limited liability
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                                                                                              9   company, without the need to take further actions to comply with state law); see also In re
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                                                                                             10   Albright, 291 B.R. 538 (Bankr. D. Colo 2003) (holding that a debtor’s bankruptcy filing, where
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                                                                                             11   the debtor was the only member of a limited liability company, effectively assigned her entire

                                                                                             12   membership interest in the limited liability company to the bankruptcy estate, and the Chapter 7

                                                                                             13   Trustee obtained all of the rights to control management of the limited liability company). See

                                                                                             14   Nelson Declaration.

                                                                                             15          39.     Nevada State Bank (“NSB”), a creditor of IAT and the Debtors, disputes the

                                                                                             16   Trustee’s ability to sell the Property without first paying the creditors of IAT. See Nelson

                                                                                             17   Declaration.

                                                                                             18          40.     The Trusteed was informed that the watches owned by IAT are not associated with

                                                                                             19   any mainstream brand and were the Debtors’ attempt to create his own brand of luxury watches

                                                                                             20   and as a result, it is unlikely that there would be a significant market for the Property. See Nelson

                                                                                             21   Declaration.

                                                                                             22          41.     NSB would likely object to any motion to sell the Property unless an agreement is

                                                                                             23   reached pursuant to FRBP 9019, which would incur additional attorneys’ fees and costs. See

                                                                                             24   Nelson Declaration.

                                                                                             25          42.     As the administrative expenses associated with the sale of the Property would

                                                                                             26   likely exceed any amount that is generated for the Debtors’ bankruptcy estate, the Trustee filed a

                                                                                             27   Negative Notice of Trustee’s Intent to Abandon Property Pursuant to 11 U.S.C. § 544 [ECF No.

                                                                                             28   98] (the “Notice of Abandonment”) on November 3, 2017. See Nelson Declaration.

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                                                                                              1          43.     On November 6, 2017, the Notice of Abandonment was served upon all parties in

                                                                                              2   interest via First Class Mail. See Nelson Declaration.

                                                                                              3          44.     Pursuant to FRBP 9006(f) and Local Rule 9014.1, if no party in interest files an

                                                                                              4   objection to the Notice of Abandonment by November 30, 2017, the Trustee will submit an order

                                                                                              5   approving the Notice of Abandonment. See Nelson Declaration.

                                                                                              6                                                     VII.

                                                                                              7            STATEMENT OF STATUTORY AUTHORITY FOR RELIEF SOUGHT

                                                                                              8          45.     11 U.S.C. Section 330(a) states:
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                                                                                              9                  (a)(1) After notice to the parties in interest and the United States
                                                                                                                 trustee and a hearing, and subject to sections 326, 328 and 329 the
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                                                                                             10                  court may award to a trustee, an examiner, a professional person
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                                                                                                                 employed under section 327 or 1103.
                                                                                             11
                                                                                             12                  (A) Reasonable compensation for actual, necessary services
                                                                                                                 rendered by the trustee, examiner, professional person, or attorney
                                                                                             13                  and by any paraprofessional person employed by any such person;
                                                                                                                 and
                                                                                             14
                                                                                                                 (B) Reimbursement for actual, necessary expenses.
                                                                                             15
                                                                                             16          46.     11 U.S.C. Section 503 states, in relevant part:

                                                                                             17                  (a) An entity may timely file a request for payment of an
                                                                                                                 administrative expense, . . .
                                                                                             18
                                                                                                                 (b) After notice and a hearing, there shall be allowed administrative
                                                                                             19                  expenses, . . . including –
                                                                                                                 (2) compensation and reimbursement awarded under Section 330(a)
                                                                                             20                  of this title.
                                                                                             21
                                                                                             22          47.     11 U.S.C. Section 331 authorizes the application for and payment of compensation

                                                                                             23   or reimbursement as follows:

                                                                                             24                  A trustee, an examiner, a debtor's attorney, or any professional
                                                                                                                 person employed under section 327 or 1103 of this title may apply
                                                                                             25                  to the court not more than once every 120 days after an order for
                                                                                                                 relief in a case under this title, or more often if the court permits, for
                                                                                             26                  such compensation for services rendered before the date of such an
                                                                                                                 application or reimbursement for expenses incurred before such
                                                                                             27                  date as is provided under section 330 of this title. After notice and a
                                                                                                                 hearing, the court may allow and disburse such compensation or
                                                                                             28                  reimbursement.

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                                                                                              1          48.     This Fee Application is brought pursuant to 11 U.S.C. Sections 330(a), 331 and

                                                                                              2   503(b) and Region 17 Guidelines Subsection (b).

                                                                                              3                                                  VIII.

                                                                                              4      STATEMENT RE: AMOUNT OF COMPENSATION SOUGHT TO BE ALLOWED

                                                                                              5          49.     This Fee Application seeks allowance of compensation as follows: (a) $39,095.00

                                                                                              6   for professional services rendered during the period from May 30, 2017, through and including

                                                                                              7   November 16, 2017; and (b) reimbursement of actual expenses in the amount of $828.92 incurred

                                                                                              8   by the Firm during the period from May 30, 2017, through and including November 16, 2017.
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                                                                                              9                                                   IX.
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                                                                                             10           STATEMENT REGARDING SERVICES RENDERED, HOURLY RATES,
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                                                                                             11                                    AND EXPENSES INCURRED

                                                                                             12          50.     Services rendered by Applicant are set forth in detail in the billing entries attached

                                                                                             13   as Exhibit “1” to the Houmand Declaration. The billing entries attached as Exhibit “1” to the

                                                                                             14   Houmand Declaration reflect the tasks and includes a detailed list of all time for which

                                                                                             15   compensation is sought, including date of service, designation of category of person rendering

                                                                                             16   service and hourly billing rate, and description of time spent and tasks performed.              See

                                                                                             17   “Guidelines” subsection (b)(4); Bankruptcy Rule 2016(a)(1).

                                                                                             18          51.     Actual expenses incurred by the Firm during the Fee Application Period are

                                                                                             19   attached as Exhibit “1” to the Houmand Declaration.

                                                                                             20          52.     No unusual or costly expenses are listed above.

                                                                                             21          53.     The Firm has charged customary rates for fees which are allowed by attorneys in

                                                                                             22   this area pursuant to 11 U.S.C. § 330.

                                                                                             23          54.     The Firm is not employed on a contingency basis and, as in all bankruptcy

                                                                                             24   proceedings, the fees charged are subject to the discretion of the Court.

                                                                                             25          55.     For the convenience of the Court, the U.S. Trustee, and all interested parties, the

                                                                                             26   following paragraphs set forth a narrative statement, summary and explanation of certain

                                                                                             27   activities and services performed during the time covered by the Fee Application Period. The

                                                                                             28   Firm expended a total of 123.6 hours in providing services on behalf of the Trustee in the

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                                                                                              1   Bankruptcy Case over a period of 171 days. To provide an orderly and meaningful summary of

                                                                                              2   the services rendered by the Firm in accordance with applicable law and guidelines the Firm

                                                                                              3   utilized the following separate project billing categories in the Fee Application Period to provide

                                                                                              4   a breakdown of the time expended:

                                                                                              5          B110 – Case Administration. The entries in this category relate to the work performed

                                                                                              6   pertaining to operational and administrative matters including communications with various

                                                                                              7   creditors, counsel for Debtor, and interested parties and their counsel on an on-going day-to-day

                                                                                              8   basis. The Firm also reviewed the proofs of claim filed by the IRS and the Nevada State
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                                                                                              9   Department of Taxation and drafted the Notice of Abandonment. The Firm expended 5.6 hours
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                                                                                             10   and spent $1,870.00 for this category.
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                                                                                             11          B120 – Asset Analysis & Recovery. The entries in this category relate to the investigation

                                                                                             12   and analysis of the potential recovery of assets for ultimate distribution to the unsecured creditors

                                                                                             13   of the Debtor’s bankruptcy estate. The Firm expended time researching the title history of the

                                                                                             14   Properties, reviewing security agreements and financing statements to determine if secured

                                                                                             15   creditors were properly perfected, researching post-petition abandonment of a homestead under

                                                                                             16   Nevada law, and drafting a motion to extend the deadline to object to the Debtors’ claimed

                                                                                             17   exemptions. The Firm expended 21 hours and spent $6,295.00 for this category.

                                                                                             18          B130 – Asset Disposition. The entries in this category relate primarily to the marketing

                                                                                             19   and sale of the Hobbiton Property. The Firm expended time drafting the Realtor Employment

                                                                                             20   Application, the IRS Stipulation, the Canon Stipulation, and the Motion to Sell. The Firm also

                                                                                             21   researched the subordination of tax liens pursuant to Section 724(a) and the Trustee’s ability to

                                                                                             22   liquidate property of a limited liability company when a bankruptcy estate includes a one hundred

                                                                                             23   percent membership interest and. The Firm engaged in discussions with counsel for NSB and U.S.

                                                                                             24   Bank regarding the potential sale of various personal property and equipment owned by the

                                                                                             25   Debtors. Lastly, the Firm reviewed and analyzed the Trustee’s ability to sell the St. Andrew’s

                                                                                             26   Property. The Firm expended 56.9 hours and spent $18,565.00 for this category.

                                                                                             27          B160 – Preparation of Fee/Employment Applications. The entries in this category relate

                                                                                             28   to the filing of the Applications to Employ the Firm as General Bankruptcy Counsel for Chapter 7

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                                                                                              1   Trustee and counsel’s court appearance on the Application to Employ the Firm. The time entries

                                                                                              2   in this category also relate to the preparation of the Fee Application. The Firm expended 13.1

                                                                                              3   hours and spent $3,852.50 for this category.

                                                                                              4          B190 – Other Contested Matters. The Firm expended time researching the Trustee’s

                                                                                              5   ability to avoid an unperfected lien pursuant to N.R.S. 17.150. The Firm engaged in negotiations

                                                                                              6   with Canon and SAP, drafted a settlement agreement with SAP, and prepared the Motion to

                                                                                              7   Approve Compromise. Additionally, the Firm engaged in negotiations with NSB regarding the

                                                                                              8   potential sale of the Property, which the Trustee ultimately sought to abandon. The Firm
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                                                                                              9   expended 27 hours and spent $8,512.50 for this category.
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                                                                                             10                                                   X.
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                                                                                             11                      STATEMENT REGARDING EXPERTISE REQUIRED

                                                                                             12          56.      The Firm is skilled in insolvency proceedings and Chapter 7 Trustee cases, and has

                                                                                             13   special knowledge which enabled the Firm to perform services of benefit to the Trustee.

                                                                                             14   Specialized knowledge and skills with respect to insolvency practice, and procedure and law are

                                                                                             15   required to handle the problems which arise in the bankruptcy context.

                                                                                             16                                                  XI.

                                                                                             17                  STATEMENT REGARDING PAYMENTS MADE OR PROMISED

                                                                                             18                       AND AGREEMENTS TO SHARE COMPENSATION

                                                                                             19          57.      No payments have been made or promised to the Firm for services rendered or to

                                                                                             20   be rendered in connection with this case, other than those payments described in this Fee

                                                                                             21   Application.

                                                                                             22          58.      No agreement or understanding exists between the Firm and any other entity for

                                                                                             23   the sharing of compensation received or to be received for services rendered in connection with

                                                                                             24   this case, except as permitted under Section 504(b)(1). See Houmand Declaration.

                                                                                             25          59.      The Trustee is a former member of the Firm and regularly employs the Firm to

                                                                                             26   represent bankruptcy estates in other unrelated bankruptcy cases in which she is the Trustee. The

                                                                                             27   Trustee did not personally bill any legal fees in the Bankruptcy Case. See Houmand Declaration.

                                                                                             28   ...

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                                                                                              1                                                XII.

                                                                                              2                                             CONCLUSION

                                                                                              3          WHEREFORE, the Firm respectfully requests that this Court enter an Order granting this

                                                                                              4   Fee Application, and approving and allowing compensation in the amount of $39,095.00 and

                                                                                              5   reimbursement of expenses in the amount of $828.92 for the Fee Application Period consistent

                                                                                              6   with the terms of this Fee Application.

                                                                                              7          Dated this 17th day of November, 2017.

                                                                                              8                                                   HOUMAND LAW FIRM, LTD.
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9
                                                                                                                                                  By: /s/ Kyle J. Ortiz
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10                                                   Jacob L. Houmand, Esq. (NV Bar No. 12781)
HOUMAND LAW FIRM, LTD.




                                                                                                                                                  Kyle J. Ortiz, Esq. (NV Bar No. 14252)
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                                                                                                                                                  Las Vegas, NV 89148
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                                                                                                                                                  Facsimile: 702/720-3371
                                                                                             13
                                                                                             14                                                   Counsel for Victoria Nelson, Chapter 7 Trustee

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